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				WITHDRAWN2021 OK CR 9489 P.3d 70Decided: 10/14/2021
Cite as: 2021 OK CR 9, 489 P.3d 70

				





	Citationizer© Summary of Documents Citing This Document
	
	
		
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	Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2021 OK CR 34, DETAR v. STATEDiscussed


	
	
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	None Found.
	
	








				
					
					
				

		
		




	
		
			
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